     Case 2:05-cr-00126-RHW      ECF No. 674    filed 02/10/06   PageID.3390 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 8
 9   UNITED STATES OF AMERICA,
10                                                NO. CR-05-126-RHW-11
                  Plaintiff,
11                v.                              ORDER CONTINUING
12                                                PRETRIAL CONFERENCE AND
     ASCENCION ALVEREZ-TEJADA,                    TRIAL
13                Defendant.
14
15         A pretrial hearing was held on February 8, 2006. Defendant was present and
16 represented by Robert Caruso. The Government was represented by Russell
17 Smoot. At the beginning of the hearing, James Egan notified the Court that
18 Defendant’s family had retained him to represent Defendant in this matter. The
19 Court granted Mr. Egan’s request to substitute as counsel of record for Defendant.
20         Mr. Egan asked the Court to continue the pretrial and trial date to allow him
21 to more adequately prepare for trial. The Government did not object to a
22 continuance.
23         Accordingly, IT IS HEREBY ORDERED:
24         1. Mr. Egan’s request to substitute as counsel of record is GRANTED.
25 Mr. Caruso is withdrawn as counsel of record. Mr. Caruso is directed to provide
26 all of his file materials to Mr. Egan forthwith and, to the extent necessary, assist
27 Mr. Egan in becoming fully apprised of the facts in this case.
28      2. The Government’s Motion to Sever (Ct. Rec. 612) is GRANTED.

     ORDER CONTINUING PRETRIAL CONFERENCE AND TRIAL ~ 1
     Case 2:05-cr-00126-RHW           ECF No. 674      filed 02/10/06   PageID.3391 Page 2 of 2



 1          3. A pretrial conference is set for March 8, 2006, at 9:00 a.m., in Spokane,
 2 Washington. All pending pretrial motions will be heard at this time.
 3          4. Defendant is directed to file any additional pretrial motions on or before
 4 February 22, 2006.
 5          5. The current trial date of February 27, 2006, is stricken. Trial is reset to
 6 March 27, 2006, in Spokane, Washington, at 9:00 a.m. Counsel shall appear in
 7 chambers at 8:30 a.m.
 8          6. Pursuant to 18 U.S.C. § 3161(h)(1), the time between February 27,
 9 2006, the current trial date, until March 27, 2006, the new trial date, is
10 DECLARED EXCLUDABLE for purposes of computing time under the Speedy
11 Trial Act. The Court finds that the ends of justice served by such a continuance
12 outweigh the interests of the public and Defendant in a speedy trial.
13          IT IS SO ORDERED. The District Court Executive is directed to enter this
14 order and to provide copies to counsel.
15          DATED the 10th day of February, 2006.
16
17                                        s/ Robert H. Whaley
18                                    ROBERT H. WHALEY
                                  Chief United States District Judge
19
20
21
22
23   Q:\CRIMINAL\2005\05-126\Alverez-Tejada\cont.wpd

24
25
26
27
28

     ORDER CONTINUING PRETRIAL CONFERENCE AND TRIAL ~ 2
